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Transcript of Craig J. Bryan, PSYD

Date: September 8, 2023
Case: Brady, et al. -v- Walmart, Inc., et al.

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EXHIBIT

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©. All right. Sir, we're back on the record.
My next question is can we agree that you cannot
quantify the reduction in risk of Mr. Mace
successfully committing suicide if he hadn't been
sold a gun by Walmart?

A. Well, we can estimate that if he had not
been able to purchase that firearm, the likelihood of
him dying would be greatly reduced.

Q. Well, that assumes that he would not have
found another lethal means, correct?

A. Well, what we understand about lethal means
is that the case fatality rate of firearms is so much
higher than other methods, that even if he had found
another method, the likelihood of him dying by
suicide would be very, very low.

Ds I was looking through a lot of the
publications that you listed in your report, and I
think I came across one that -- and maybe this wasn't
listed in the report, but there was a study that
indicated firearm's certainly the most lethal means,
but a close second was -- and this kind of surprised

me -- drowning?

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A. (Nods head.)
OQ. And I believe that study put that fatality

rate at about 60 percent. Would you agree or
disagree with that?

MR. SULLIVAN: Just one second. I just
make sure -- drowning, that the fatality rate is 60
percent? Is that the question?

MR. IRA: Yeah. Yes.

A. That sounds about right.

0. Okay. And what is the fatality rate of a
firearm?

A. Typically, 90 to 95 percent.

Q. Okay. So assuming Mr. Mace had not found a
way to access a firearm someway -- somewhere else, if

he had, for example, you know, jumped off of a bridge
or something like that, his risk was reduced perhaps
by 30 percent because he didn't use a firearm, but he
jumped off of a bridge, right?

MR. SULLIVAN: Objection.
A. I mean, so that -- what that -- so that
comparison of the case fatality rates, yes, that's a

difference of 30 percent. What it excludes, though,

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is access to can be availability.

Q. Okay. And all of this assumes if Mace had
been denied a sale of a firearm at Walmart, where, in
your opinion, folks at Walmart knew about his
condition, if he had gone down the street to another
gun store, he would have been sold a gun, right?

A. Possibly.

QO. And in that instance, he still would have
had access to a highly lethal means of suicide?

A. Yes. If someone had sold him a firearm.

Q. And if he drove down the street to another
firearm store and purchased a gun, Walmart's denial
of the sale still would not have saved his life in
that instance?

A. The reason I think that the denial of the
sale at Walmart still would have prevented his
Suicide even if there were other gun dealers down the
road, because research shows that the mean
substitution -- that's kind of what you're getting at
here -- is very uncommon, and it seems to be the case
that the suicidal state is characterized by extreme

tunnel vision. You lose executive functioning,

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problem solving capacity.

And so if you're unable to gain access to
the method or your suicide attempt has been thwarted,
what the research would suggest is that most people
will not sort of problem solve or switch to something
else under those circumstances. They're just
thwarted in that moment.

And so that's where I think, again, had
Walmart said no, not -- you know, sold the firearm to
him, I don't think the suicide would have occurred.
QO. Well, that raises an interesting point,
when an attempt is unsuccessful or is thwarted,
you're saying that the literature indicates that
someone will not further pursue it, typically?

A. Typically.
O. Have you seen evidence that suggests that

Mr. Mace attempted to fire the shotgun and it did not

go off?
A. I don't recall that, no.
Q. Wouldn't that fall into the category of a

thwarted attempt?

A. Not necessarily, no.

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A. I can't say many things with certainty.
Q. Many things including the proposition that

stopping the sale in that moment would have prevented
the suicide?

MR. SULLIVAN: For certainty?

MR. IRA: Yes.

MR. SULLIVAN: Object. Same objection.

A. I cannot say that with a hundred percent
certainty.

Q. What degree of certainty can you say that
with?

A. I would say that had the sale not occurred,

it's definitely more likely than not he would have

not died.

is Well, I think I saw that -- this may have
been in your report. It may have been in some
literature -- that there's -- of course, the research

varies on this, but I think I saw a period of time of
about two to three hours, that has been found to be
that period of time when someone intensely
experiences the urge to commit suicide; is that

correct?

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explain to me what that means?

A. Sure. So if we want to understand if
someone is likely to die as a result of their suicide
attempt, the most important factor to consider is
what method are they using, and it's sort of I think
a common assumption. It's a prevailing perspective
of suicide, that intent that is how upset is the
person, how badly do they want to die, and so if they
really want to do it, they're going to find a way to
do it.

But what research shows is that actually,
that those indicators of distress, of intent, are
actually pretty weakly correlated with what actually
happens, like does a person die or are they severely
injured, things like that, or did they just kind of
wake up and walk away.

And so a great example to illustrate this,
I think is, you know, a person may not be fully
resolved to kill themselves. They're maybe thinking
about it. They're upset, but they don't have a whole
lot of strong intent.

They decide I can just kill myself. If

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they have a gun, they'll probably die.

Conversely, you can have someone who's
really, really suicidal, who really strongly wants to
die. If they don't have access to highly lethal
methods, they're probably not going to die by
suicide, even if they do it.

Q. You go on to state after that sentence,
"Individuals with strong intent to kill themselves,
therefore, frequently survive their suicide attempts
when they do not have access to highly lethal
methods. Can that be quantified, the rate of
survival of using methods other than a firearm?

A. Yeah. And so that's the term I think I've
used a few times, is case fatality rate or sometimes
case fatality ratio is used. Yeah, that's actually
-- those kind of statistics have been published where
they -- that's where the 90 to 95 percent of firearms
self-inflicted gunshot wounds are fatal, where we get
to like overdosing on medication, you're looking at
maybe a two percent fatality rate.

Q. I think I saw that -- I'm thinking of

something else.

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periods of acute ideation?
A. It can be many different things. You know,
and I liken that question, like what are the things
that cause a car crash? Well, it depends. And so
you can't really boil it down to one or two things,
but, presumably, you know, with what we think is what
people tell us during those periods, is it's usually
some sort of a reaction or something like that.
Q. I'm looking at Paragraph 4. You said, "Had
Walmart store management taken steps to restrict the
sale of firearms to Jacob Mace, Jacob Mace would not
have been able to acquire the shotgun that he used to
kill himself less than two hours later."

That's assuming that he would not have
found another way to access a firearm?
A. Yes’.
Q. Okay. And the last sentence in Paragraph 4
says, "But for the sale of the firearm to Jacob Mace,
he would not have taken his life that day." Would
you agree with me that that's speculative?
A. I would say that that is an opinion that's

informed by the research of what we understand about

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how suicidal states come and go and how access to
highly lethal methods kind of interacts with those
episodic states.

Q. Sure. And I appreciate what the research
says about things that generally contribute to
ideation, reduce the likelihood of suicide attempts
and successful suicide. I appreciate what that
research says, but to say that, "But for the sale of
the firearm to Jacob Mace, he would not have taken
his life that day," you can't just answer that
question with research, right? You've got to look at
the particular circumstances?

A. Well, I would argue that's a limitation of
all research. I mean, you know, I was asked to
render an opinion based on science, based on
evidence, and based on that knowledge and based on
those data streams, I think that's a -- I think
that's a reasonable opinion.

Q. Okay. And to what degree of certainty are
you rendering that opinion?

A. I would say, you know, beyond -- I would

say a high degree of certainty. I guess maybe

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greater than like 80 percent or 90 percent.

Q. And implicit in the fact that you're
rendering that opinion to a degree of certainty that
is 80 to 90 percent, you can't rule out the
possibility that he would have found another way?

A. No, I cannot.

Q. Can you rule out the possibility that his
intense experiences of suicidal ideation would have
continued to increase after November 15th?

A. I think based on his history and based on
the information that I was, you know, able to review,
I think it's likely he would have gone through these
sort of episodic stages. There would have been an
ebb and flow in his suicide risk over time. And I
say that mostly because, again, that seems to be sort
of the time course and the progression of suicidal
states, especially amongst people with histories of
mental health problems, prior attempts.

Q. For how long would his feelings of suicidal
ideation would have ebbed and flowed after November
15th?

A. My experience is that patients with

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